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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                  PIKEVILLE

 UNITED STATES OF AMERICA,                   )
                                             )
        Plaintiff,                           )       Criminal No. 10-2-ART
                                             )
 v.                                          )
                                             )    MEMORANDUM OPINION
 JIMMY D. CORNETT,                           )           AND ORDER
                                             )
        Defendant.                           )
                                     *** *** *** ***

       Can the government convict someone for possessing a gun when there is no evidence

he either actually possessed it or intended to ever possess it? No. Therefore, two of defendant

Jimmy D. Cornett’s (“Cornett”) three gun convictions must be vacated. The four other

convictions, however, remain.

                                     BACKGROUND

       A federal grand jury returned an indictment against Cornett and his co-defendant,

James Perry, on January 21, 2010. R. 1. They were both charged with conspiring to

manufacture methamphetamine (count one), manufacturing methamphetamine and/or aiding

and abetting the manufacture of methamphetamine (count two), and possessing equipment,

products, and materials used to manufacture methamphetamine and/or aiding and abetting the

possession (count three). See 21 U.S.C. §§ 846, 841(a)(1), 843(a)(6); 18 U.S.C. § 2. They

were also charged with several gun crimes: possession of a .22 caliber rifle in furtherance of

a drug trafficking crime and/or aiding and abetting that possession (count four), possession of
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 a .22 caliber rifle after a felony conviction (count five), and possession of a 12 gauge shotgun

 after a felony conviction (count six). See 18 U.S.C. §§ 2, 924(c), 922(g)(1).

       Perry pled guilty to counts two and four, R. 74, while Cornett proceeded to trial. It was

the government’s theory at trial that methamphetamine was being manufactured in a stolen trailer

on Cornett’s property. The Martin County sheriff received information that the stolen trailer was

on Cornett’s property near his house. On August 11, 2009, the sheriff and several deputies

arrived at 6031 Rockhouse Road—which they knew to be Cornett’s home—to investigate the

theft of the trailer. R. 98, Trial Transcript (“Tr. 1”) at 4-6. The trailer was on the property,

approximately eighty feet from Cornett’s house. Tr. 1 at 22; R. 99, Trial Transcript (“Tr. 2”) at

41. Cornett gave the officers permission to search the trailer for a serial number. Tr. 1 at 6-7.

James Perry was sitting outside of the trailer, and once the officers entered they observed

materials used to make methamphetamine. Id. at 7-8. Just inside the doorway, directly opposite

the methamphetamine materials, was a .22 caliber rifle. Id. at 9-10, 14. After later obtaining a

warrant, id. at 14-15, the deputies searched Cornett’s home and found a 12 gauge shotgun

propped against an inside wall near the back door. Id. at 59. They also found various items

linking Cornett to the residence.1 No fingerprints were recovered from either of the firearms.

Tr. 2 at 32.



       1
         Photographs of the items found in the house were admitted into evidence. See Gov’t Ex. 4C
(pistol holder in the bedroom); Gov’t Ex. 4D (pistol ammunition in the bedroom); Gov’t Ex. 4F
(Jimmy Cornett checkbook found in the safe in the bedroom); Gov’t Ex. 4G (license receipt with
Jimmy Cornett’s name on it); Gov’t Ex. 4H (mail addressed to Jimmy Cornett at 6031 Rockhouse
Road); Gov’t Exs. 4I, 4J, 4K, 4L (photographs of the Cornetts); Gov’t Exs. 4M, 4N, 4O (the kitchen
with dishes and food out); and Gov’t Ex. 4P (the washing machine).

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       No one saw Cornett in the trailer that day, and the government produced no evidence that

he had ever been inside. The government established that Cornett ran power cords from his home

out to the trailer to provide Perry electricity. Id. at 22, 45. Kentucky “Meth-Check” records

showed that Cornett and Perry purchased Sudafed, which contains pseudoephedrine used to make

methamphetamine, together on at least one occasion. Tr. 1 at 21; Tr. 2 at 17. That same type of

pseudophedrine—120 mg tablets—was used to mix the methamphetamine cooking in the trailer.

Tr. 2 at 18-19.

       Cornett testified in his own defense that he knew nothing about the methamphetamine or

the .22 caliber rifle inside the trailer, although he admitted running the power lines out to the

trailer. Id. at 41-42, 45-46. Cornett also testified that he had moved out of the residence at 6031

Rockhouse Road and knew nothing about the 12 gauge shotgun inside his house. In support,

Michael Litton testified that the 12 gauge shotgun was his and that he had placed it inside

Cornett’s house just hours before the sheriff arrived. Id. at 33-34. A records search could not

identify the owner of the shotgun. Id. at 31.

       Cornett properly preserved his Rule 29 motion by moving both at the close of the

government’s case and at the close of his case. The Court denied the motion as to counts one,

two, and three, and reserved ruling as to counts four, five, and six. R. 83. The jury returned a

guilty verdict on all counts. R. 85.

                                         DISCUSSION

       Under Rule 29, “the court on the defendant’s motion must enter a judgment of acquittal

of any offense for which the evidence is insufficient to sustain a conviction.” When analyzing


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an insufficiency of the evidence claim, the Court views the evidence in the light most favorable

to the government. United States v. Copeland, 321 F.3d 582, 600 (6th Cir. 2003) (citations

omitted).

       The motion for judgment of acquittal for the first three counts, all involving the production

of methamphetamine, are denied for the reasons stated at trial. The government showed that

Cornett purchased pseudoephedrine in the same amounts used in the methamphetamine

production on his property. He provided Perry with the electricity necessary to run the meth-

producing generator. A reasonable jury could find that by possessing and providing these

instrumentalities, Cornett participated in the conspiracy and at least aided Perry in the

methamphetamine production.

       The issue here as to all three gun counts is the same—whether Cornett knowingly

possessed the firearm. To meet its burden under 18 U.S.C. § 922(g)(1), the government must

show that (1) Cornett had been previously convicted of a felony; (2) each firearm crossed a state

line prior to the possession; and (3) Cornett knowingly possessed the rifle (count five) and the

shotgun (count six). United States v. Schraene, 331 F.3d 548, 560 (6th Cir. 2003) (citing United

States v. Daniel, 134 F.3d 1259, 1263 (6th Cir. 1998)). Similarly, under 18 U.S.C. § 924(c), the

government must prove that (1) Cornett is guilty of a drug trafficking crime; (2) he knowingly

possessed the rifle; and (3) the possession of the rifle was in furtherance of a drug trafficking

crime. United States v. Kuehne, 547 F.3d 667, 680-81 (6th Cir. 2008). In this case, the issue

comes down to whether the government presented sufficient proof regarding the possession

element.


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        Possession may be actual or constructive and need not be exclusive. United States v.

Hadley, 431 F.3d 484, 507 (6th Cir. 2005). Cornett was not seen with either gun, so there was

no actual possession in this case. That a defendant “knowingly has the power and the intention

at a given time to exercise dominion and control over an object” establishes constructive

possession. Id. With regard to a home, the Sixth Circuit “has repeatedly and frequently held that

constructive possession may be shown to exist if the contraband is found in a defendant’s

bedroom or personal living space.” United States v. Malone, 308 F. App’x 949, 952-3 (6th Cir.

2009) (collecting cases). The government showed that Cornett lived at 6031 Rockhouse Road,

and thus the jury could conclude he had possession over its contents, including the 12 gauge

shotgun. The government did not, however, present sufficient evidence to link Cornett to the .22

rifle in the trailer.

I. Count six - 18 U.S.C. § 922(g)(1) possession of the 12 gauge shotgun

        Cornett argues that the government did not prove he knowingly possessed the 12 gauge

shotgun found at his residence. R. 97 at 4. “A jury is entitled to infer that a person exercises

constructive possession over items found in his home.” United States v. Hill, 142 F.3d 305, 312

(6th Cir. 1998) (internal quotation marks and citations omitted). There is no dispute that the 12

gauge shotgun was found inside 6031 Rockhouse Road. The question is whether Cornett lived

there and in turn exercised dominion or control over the shotgun.

        Cornett testified that he moved out of the house at 6031 Rockhouse Road two weeks prior

to his arrest, and that he returned because he did some of his work out of that residence. Tr. 2

at 43, 45. But the government presented ample evidence from which the jury could conclude that


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he still resided there. The officers found mail, checks, and other paperwork with Cornett’s name

and the 6031 Rockhouse Road address. Tr. 1 at 41, 49. They also found clothes in the laundry

room, dishes in the kitchen, and ammunition throughout the house, suggesting that someone still

lived there. Id. at 50. Cornett was present outside of 6031 Rockhouse Road on August 11 when

the police arrived. Cornett conceded that the land remained his property. Id. at 49-50.

Moreover, Cornett definitely exercised control over the premises when he allowed deputies to

check for a serial number on the trailer. Finally, Sheriff Preece testified that he had been to 6031

Rockhouse Road approximately eight times and always knew Cornett to live there, tr. 1 at 30,

including within the two weeks preceding the arrest, id. at 24.

       The Court must “make all reasonable inferences and credibility choices in support of the

jury’s verdict.” United States v. Hughes, 895 F.2d 1135, 1140 (6th Cir. 1990). In United States

v. Tyus, “mail scattered throughout the house, which included bills and a court notice, was

addressed to no one but Tyus and to nowhere but 25952 Norfolk” was ample evidence to prove

that Tyus lived at the house and possessed the drugs and guns located therein. No. 09-1495, 2010

WL 2161824, at *2 (6th Cir. May 28, 2010). The court reached this conclusion despite the fact

that the Michigan Secretary of State listed a different address for Tyus. Id. While Tyus argued

that the mail and other items only showed his previous residence in the home, the court held that

it “may be a permissible view of the evidence, but it is by no means a mandatory one. The jury’s

choice to find that Tyus lived at the house at that time and therefore constructively possessed the

drugs and guns ‘was a rational one.’” Id. (quoting United States v. Arnold, 486 F.3d 177, 182

(6th Cir. 2007) (en banc)). Cf. United States v. Hartman, 213 F. App’x 396, 402 (6th Cir. 2007)


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(evidence of an official ID card, a prescription drug bottle, several pieces of mail, bank checks

and deposit slips, and store receipts more than a month old was sufficient to show defendant

resided at address and constructively possessed drugs found therein); United States v. Monroe,

90 F.App’x 460, 463 (6th Cir. 2004) (defendant’s presence at residence when police arrived,

vehicles associated with him in the driveway, and an address book and receipts in his name found

in the house were sufficient for a rational trier of fact to conclude he possessed weapons found

in the house).

II. Count five - 18 U.S.C. § 922(g)(1) possession of the .22 caliber rifle

       In contrast with the shotgun, the rifle was found inside the trailer located on Cornett’s

property, eighty feet away from the residence. The government presented absolutely no evidence

that placed Cornett inside the trailer or that he actually possessed the rifle. And there was

insufficient evidence for a jury to find that he exercised dominion over the trailer, where the rifle

was found.

       While a finding of constructive possession may rest upon “[p]roof that the person has

dominion over the premises where the firearm is located,” the government did not show that

Cornett had dominion over the trailer. Hadley, 431 F.3d at 507 (quoting United States v.

Kincaide, 145 F.3d 771, 782 (6th Cir. 1998) (internal quotation marks and citation omitted)).

Unlike his home on the same property, the trailer was not filled with Cornett’s personal

belongings or other indicia that he spent time within its walls. Besides the pseudoephedrine he

purchased with Perry, nothing of Cornett’s was found inside the trailer. The trailer was on

Cornett’s property, he supplied power to it, and he purchased Sudafed that a jury could


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reasonably conclude was the same as that found inside the trailer. Based on these things, the jury

could have found that Cornett had some control over the trailer. But that is not enough to show

that he had dominion over the trailer and all of its contents. See United States v. Bailey, 553 F.3d

940, 945 n.3 (“The corollary [to the dominion rule] . . . is that nonexclusive possession does not

establish ‘dominion over the premises’ sufficient to show constructive possession.”).

       If there is no dominion over a premises where the gun is found—meaning the gun is not

found inside the defendant’s living space—the government must show “knowledge of, access to,

and an intent to exercise control over the gun” to show constructive possession. Id. at 946; see

United States v. Clark, 184 F.3d 858, 863 (D.C. Cir. 1999) (“There must be some action, some

word, or some conduct that links the individual to the [contraband] and indicates that he had

some stake in [it], some power over [it].”). Just being somewhere near the gun is not enough;

presence alone cannot show the requisite knowledge, power, or intent to control. United States

v. Davis, 577 F.3d 660, 672 (6th Cir. 2009). In Davis, a witness had seen the defendant with the

gun previously, and a police officer saw him place something under the seat in his car where the

gun was later found. Id. All of these things combined were enough to sustain a conviction. But

simply being in a car where a gun is found, for example, without further proof of possession of

the car would alone not establish the required connection between a defendant and the gun.

Bailey, 553 F.3d at 946 (evidence was insufficient to show possession when Bailey testified that

he borrowed the car from a friend and that others used it the night he was arrested); see also

United States v. Sizemore, 76 F. App’x 708, 713 (6th Cir. 2003) (evidence that the defendant had

been sleeping in the trailer on his property where the guns were located tipped the scales in favor


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of sufficiency to sustain the § 924(c) count).

       Cornett was not inside the trailer when the police arrived and found the gun. He was not

even outside the trailer—Perry was sitting in the doorway while Cornett was headed around his

house and toward the road. In such a situation, “where the inference of dominion and control at

the time of the arrest is weak, [courts] require[] significantly more persuasive evidence to ‘tip

the scale in favor of sufficiency.’” United States v. Grubbs, 506 F.3d 434, 441 (6th Cir. 2007).

Here, there is none. Drawing inference upon inference can only reasonably bring the jury to the

conclusion that at some point Cornett was inside the trailer and saw the rifle. Presence inside the

trailer alone does not show constructive possession of its contents.

       Is it possible that Cornett alone brought the trailer to his property, set up a

methamphetamine lab, and brought the rifle into the trailer in order to protect his criminal

operations? It may be. But “[e]vidence that at most establishes no more than a choice of

reasonable probabilities cannot be said to be sufficiently substantial to sustain a criminal

conviction.” United States v. Nechovski, No. 08-4640, 2010 WL 1377876, at *7 (6th Cir. Apr.

7, 2010) (quoting United States v. Saunders, 325 F.2d 840, 843 (6th Cir. 1964)). Without placing

Cornett with the rifle or showing his dominion over the trailer, a reasonable jury could not reach

the conclusion that he possessed the rifle. Cornett’s § 922(g)(1) conviction for possession of the

rifle (count five) must be vacated.

III. Count four - 18 U.S.C. § 924(c)

       Possession of a firearm—here, the .22 caliber rifle—is clearly a critical element of

sustaining a conviction under 18 U.S.C. § 924(c) for using a firearm in furtherance of a drug


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trafficking crime. United States v. Kuehne, 547 F.3d 667, 680-81 (6th Cir. 2008). For the

reasons already discussed, the government did not sufficiently prove possession of the rifle.

Thus, it follows that it did not sufficiently prove that Cornett violated § 924(c).

Aiding and abetting

       The indictment alternatively charged Cornett with aiding and abetting a § 924(c) violation

under 18 U.S.C. § 2; the jury may have found him guilty under either statutory provision. The

government also failed to meet its burden under the aiding and abetting theory. “[T]he essence

of the crime of aiding and abetting is the defendant’s offering assistance or encouragement to his

principal in the commission of a substantive offense.” United States v. Webber, 208 F.3d 545,

553 (6th Cir. 2000) (quoting United States v. Ledezma, 26 F.3d 636, 642 (6th Cir. 1994)). As

the jury was instructed, proof that Cornett may have known Perry possessed the rifle in

furtherance of drug trafficking, even if he was there when it happened, is not enough to find

Cornett guilty of aiding and abetting. See Ledezma, 26 F.3d at 641(“To prove aiding and

abetting, the government must show that Zajac knew that the principals possessed cocaine with

the intent to distribute it, and that Zajac assisted in their plan to deliver the cocaine.”) (emphasis

added).

       In order to be convicted of aiding and abetting, Cornett had to have somehow assisted in

Perry’s plan to possess the rifle in furtherance of a drug trafficking crime. The government

presented not a shred of evidence that he did so. Providing the trailer’s electricity alone is not

enough. Otherwise, every landlord that provides as much could arguably possess everything in

his tenant’s apartment. While the jury was able to find that such assistance, coupled with the


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pseudoephedrine purchase, was sufficient to convict Cornett of the conspiracy to produce

methamphetamine charge, that same logic simply does not flow to the gun charge. Of course,

had Cornett provided Perry ammunition or even cleaning solution for his gun, it may be a

different story.

                                         CONCLUSION

       Accordingly, it is ORDERED that the defendant’s motion for a directed verdict, R. 97,

is GRANTED IN PART and DENIED IN PART. The motion is GRANTED as to counts four

and five; DENIED as to count six; and DENIED as to counts one, two, and three for the reasons

previously given at trial as well as herein.

       This the 26th day of August, 2010.




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